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                                                                                             Form 3

                        UNITED STATES COURT OF INTERNATIONAL TRADE


  PRINTING TEXTILES, LLC DBA BERGER
  TEXTILES,

           Plaintiff,

      v.                                             Court No. 23-00192

  UNITED STATES,

           Defendant.


                                            SUMMONS


  TO:      The Attorney General and the United States Department of Commerce:

           PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C.

  § 1581(c) to contest the determination described below.



                                                       /s/ Mario Toscano
                                                       Clerk of the Court


1. The plaintiff is Printing Textiles, LLC dba Berger Textiles, is a an importer of the merchandise at
   issue, and Plaintiff requested and participated in the Department of Commerce’s scope inquiry
   that resulted in the contested determination. Plaintiff therefore is a party to the proceeding and
   entitled to commence this civil action pursuant to 28 U.S.C. § 2631(c), 28 U.S.C. § 1581(c), and
   19 U.S.C. § 1516a(a)(2)(B)(vi) & (d).

2. Plaintiff contests the Department of Commerce’s Final Scope Ruling, finding that canvas banner
   matisse imported Plaintiff from the People’s Republic of China (“China”) fall within the scope of
   the antidumping duty order on certain artist canvas from China (Case No. A‐570‐899).

3. The underlying administrative determination was made on August 15, 2023.

4. The Final Scope Ruling was not published in the Federal Register.
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                                 /s/ Kyl J. Kirby
                                 Kyl J. Kirby
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                                 PRINTING TEXTILES, LLC, doing
                                 business as BERGER TEXTILES



Date: September 14, 2023
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                        SERVICE OF SUMMONS BY THE CLERK

       PRINTING TEXTILES, LLC DBA BERGER TEXTILES V. UNITED STATES
                            CIT Court No. 23-00192

       Pursuant to CIT Rule 3(a)(2), this is an action described in 28 U.S.C. § 1581(c) to contest
a determination listed in section 516A(a)(2) of the Tariff Act of 1930, for which the filing of a
summons only is required for commencement of the action. In accordance with CIT Rule 4(a)(1)
and (4), the Clerk of the Court is requested to serve the summons on each of the following
named defendants:

UPON THE UNITED STATES:

Attorney-in-Charge
International Trade Field Office
U.S. Department of Justice
National Courts Branch
Room 346
26 Federal Plaza
New York, NY 10278

Director Jeanne Davidson
Commercial Litigation Branch
Civil Division
U.S. Department of Justice
1100 L Street, NW
Washington, DC 20530

UPON THE DEPARTMENT OF COMMERCE:

Leslie B. Kiernan
General Counsel
U.S. Department of Commerce
Mail Stop 5875 HCHB
14th and Constitution Avenue, NW
Washington DC 20230

Robert Heilferty
Office of the Chief Counsel for Trade Enforcement and Compliance
International Trade Administration
U.S. Department of Commerce
1401 Constitution Avenue., NW
Washington, DC 20230
